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rN THE UNITED sTATES nlsTRICT could/043 32 `\O_G
FOR THE WESTERN DISTRICT 0F TEN ESS_EE P,y -
EAsTERN DIVISION 5a " y 4-

 

 

JOHN CONNELL )
AND )
LUCY CONNELL, )
)
Plaintiffs, )

v. ) CIVIL ACTI()N NO. 1-03-1012-1`
)
WEBB REALTY, INCORPORATED; )
JULE NANCE; BILLY N. WEBB, JR.; )
ANNA WEBB; JAMES N. MAYS; )
KAY W. MAYS; and DIANNE MOORE, )
Defendants. )
)
ORDER

 

On the Motion of Plaintiffs for an Order to approve Plaintiffs John Connell and Lucy
Connell’s Motion for Extension Of Time to Respond to Defendant Dianne Moore’s Motion for
Attorney Fees to August 29, 2005 pursuant to Local Rule 7.l(a), and good cause for Plaintiffs’
Motion for Extension of Time to Respond in Memorandurn having been shown; therefore,

IT lS ORDERED that the Motion be granted and that the time Within which Plaintiffs may
tile Response to Defendant Dianne Moore’s l\/lotion for Attorney Fees is extended and enlarged to
August 29, 2005.

Dated this the j_’g_/ Day of July, 2005.

@Q/Vm b. M_i

JAMlW n. TODD
UNITED srArEs DlsrRiCr JUDGE

 

This document entered on the docket sh et In compiiance
with Rule 58 and,'or_?$ (a) FRCP on w

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APPROVED FOR ENTRY:

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ATTORNEYS FOR PLAINTIFFS

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CERTIFICATE ()F SERVICE

The undersigned hereby certifies that a true and exact copy of the above document has been
served upon the Defendant Dianne Moore, by hand delivery of same to the attorney for Defendant
Dianne Moore, Jennifer Craig, Waldrop & Hall, 106 S. Liberty Street, Jackson, Tennessee 38301;
by hand delivery of same to the attorney for Defendants Webb Realty Company L.L.C,, Billy N.
Webb, .lr., Anna Webb, and Jule Nance, Dale Conder, 209 East l\/lain Street, P.O. Box 1147,
Jackson, Tennessee 38302-1 147; and by hand delivery of same to the attorney for Defendants J ames
N. Mays and Kay W. Mays, Brandon O. Gibson, Pentecost, Glenn & Rudd, PLLC, 106 Stonebridge

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rhis aeng hay OfJuly, 2005.

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UNITE sTATEs DrsTRICT OURT - WESTNER D'I'ISRCTOF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 154 in
case 1:03-CV-01012 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

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Honorable .1 ames Todd
US DISTRICT COURT

